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                                  UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF VIRGINIA
                                                SEALED


AMAZON.COM, INC, et al,
                                             Plaintiff(s),
                       v.
                                                                         MOTION HEARING
WDC HOLDINGS LLC, et al.                                                 Case No. 1:20CV484
                                             Defendant(s)
                                             .


HONORABLE LIAM O’GRADY presiding                                                Court Reporter: S. Wallace
Deputy Clerk: Amanda                                                            Hearing Began: 4:02 p.m.
Proceeding Held: April 28, 2020                                                 Hearing Ended: 4:34 p.m.


Appearances:

       Plaintiff(s):        Travis Andrews, Elizabeth Petrela Papez, Patrick Friel Stokes

       Defendant(s):


[6] Plaintiff’s Motion to Seal
[9] Plaintiff’s Motion for Temporary Restraining Order

   -     Hearing and transcript are sealed until further Order of the court.
   -     Ms. Papez responds to court’s questions and presents argument on motions.
   -     Court and counsel discuss how to best serve the defendants.
   -     Court and counsel discuss dollar amount that should be put into Escrow.
   -     Court orders a 2-million-dollar bond via ACH or wire transfer to the court treasury.
   -     Plaintiff’s request that the case remain under seal.
   -     Request granted.
   -     Court grants motion.
   -     Order to follow.
   -     Preliminary Injunction hearing scheduled for Thursday, May 7, 2020 at 2:00 p.m.
